                      Case 2:17-cv-00327                            Document 1-1                      Filed on 10/17/17 in TXSD                                        Page 1 of 1
JS 44 (Rev. 06/17)                                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THlS FORM.)

I. (a) PLAINTIFFS                                                                                         DEFENDANTS
JOSHUA HANCOCK and ARELI RAMOS, Individually and as next                                                CITY OF CORPUS CHRISTl, CORPUS CHRISTl INDEPENDENT
friends, for K.H., S.H. and H.H.                                                                        SCHOOL DISTRICT, and OFFICER ANDREW CARRIZALES
   (b) County of Residence of First Listed Plaintiff -'-N.:. :u=-:e:. :c:. :e:. :s:. . _______           County of Residence of First Listed Defendant _.:. N:.: u:.: e:. :c:.: ec.: s:. . ________
                              (EXCEPT IN US. PLAINTIFF CASES)                                                                               (IN US. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

    (C) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (Jf Known)
Martin J. Ciktel, Esq., CIRKIEL & ASSOCIATES, P.C., 1901 E. Palm
Valley Blvd., Round Rock, Texas, 78664, 51~ -~l.j~-(DluS'iS"
Tjmothy ,Raub, RAUB LAW FIRM, P.C., 814 Leopard Street, Corpus
 Cl'\r-tStt   e c..s       ' , 3   ~  o- <&I
II. BASIS OF JURISDICTION (Placean "X"inOneBoxOnly)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                              and One Box for Defendant)
0 1    U.S. Government              0 3    Federal Question                                                                    PTF            DEF                                            PTF      DEF
          Plaintiff                          (US. Government Not a Party)                        Citizen of This State          [.!~( 1       0 1        Incorporated or Principal Place      ~ 4      0 4
                                                                                                                                                           of Business In This State

~2     U.S. Government              04     Diversity                                             Citizen of Another State         0 2         0    2     Incorporated and Principal Place     0 5     0 5
          Defendant                          (Indicate Citizenship ofParties in Item lli)                                                                   of Business In Another State

                                                                                                                                  0     3     0    3     Foreign Nation                       0 6     0 6

IV NATURE OF SUIT (Place an "X" in One Box Only)                                                                                               Click here for Nature of Suit Code Descriptions
          CONTRACT                                           TORTS                                 FORFEITURE/PENALTY                             BANKRUPTCY                      OTHER STATUTES
0   110 Insurance                   PERSONAL INJURY             PERSONAL INJURY        0 625 Drug Related Seizure       0 422 Appeal28 USC 158                               0 375 False Claims Act
0   120 Marine                    0 310 Airplane              0 365 Personal lnjmy -          ofProperty 21 USC 881     0 423 Withdrawal                                     0 376 Qui Tam (31 USC
0   130 Miller Act                0 315 Airplane Product             Product Liability 0 690 Other                            28 usc 157                                           3729(a))
0   140 Negotiable Instrument           Liability             0 367 Health Care/                                                                                             0 400 State Reapportionment
0   150 Recovery of Overpayment 0 320 Assault, Libel &              Pharmaceutical                                        PROPERTY RIGHTS                                    0 410 Antitrust
        & Enforcement of Judgment        Slander                    Personal Injmy                                      0 820 Copyrights                                     0 430 Banks and Banking
 0 151 Medicare Act               0 330 Federal Employers'          Product Liability                                   0 830Patent                                          0 450 Commerce
 0 152 Recovery ofDefaulted              Liability            0 368 Asbestos Personal                                   0 835 Patent- Abbreviated                            0 460 Deportation
        Student Loans             0 340 Marine                       lnjmy Product                                            New Drug Application                           0 470 Racketeer Influenced and
        (Excludes Veterans)       0 345 Marine Product               Liability                                          0 840 Trademark                                            Corrupt Organizations
 0 153 Recovery of Overpayment           Liability             PERSONAL PROPERTY                   LABOR                  SOCIAL SECURITY                                    0 480 Consumer Credit
        of Veteran's Benefits     0 350 Motor Vehicle         0 370 Other Fraud        0 710 Fair Labor Standards       0 861 HIA (!395ft)                                   0 490 Cable/Sat TV
 0 160 Stockholders' Suits        0 355 Motor Vehicle         0 371 Truth in Lending          Act                       0 862 Black Lung (923)                               0 850 Securities/Commodities/
 0 190 Other Contract                   Product Liability     0 380 Other Personal     0 720 Labor/Management           0 863 DIWC/DIWW (405(g))                                   Exchange
 0 195 Contract Product Liability 0 360 Other Personal              Property Damage          Relations                  0 864 SSID Title XVI                                 0 890 Other Statutory Actions
 0 196 Franchise                        lnjmy                 0 385 Property Damage    0 740 Railway Labor Act          0 865 RSI (405(g))                                   0 891 Agricultural Acts
                                  0 362 Personal lnjmy -            Product Liability  0 751 Fanrily and Medical                                                             0 893 Environmental Matters
                                        Medical Malpractice                                   Leave Act                                                                      0 895 Freedom of Information
I       REAL PROPERTY                 CIVIL RIGHTS             PRISONER PETITIONS 0 790 Other Labor Litigation            FEDERAL TAX SUITS                                        Act
 0 210 Land Condemnation          0 440 Other Civil Rights      Habeas Corpus:         0 791 Employee Retirement        0 870 Taxes (U.S. Plaintiff                          0 896 Arbitration
  0 220 Foreclosure               0 441 Voting                0 463 Alien Detainee           Income Security Act              or Defendant)                                  0 899 Administrative Procedure
 0 230 Rent Lease & Ejectment     0 442 Employment            0 510 Motions to Vacate                                   0 871 IRS-Third Party                                      Act/Review or Appeal of
  0 240 Torts to Land             0 443 Housing/                     Sentence                                                 26 usc 7609                                          Agency Decision
  0 245 Tort Product Liability          Accommodations        0 530 General                                                                                                  0 950 Constitutionality of
  0 290 All Other Real Property   0 445 Amer. w/Disabilities- 0 535 Death Penalty             IMMIGRATION                                                                          State Statutes
                                        Employment              Other:                 0 462 Naturalization Application
                                  0 446 Amer. w/Disabilities- 0 540 Mandamus & Other   0 465 Other Immigration
                                   X    Other
                                    448 Education
                                                              0 550 Civil Rights
                                                              0 55 5 Prison Condition
                                                                                             Actions

                                                              0 560 Civil Detainee-
                                                                     Conditions of
                                                                     Confinement

 V. ORIGIN (Place an "X"inOneBoxOnly)
J:i( I Original          0 2 Removed from               0   3    Remanded from              0 4 Reinstated or        0 5 Transferred from                0 6 Multidistrict             0 8 Multidistrict
        Proceeding           State Court                         Appellate Court                 Reopened                   Another District                    Litigation -                Litigation -
                                                                                                                            (specifY)                           Transfer                    Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
 VI. CAUSE OF ACTION 1-::-:--:-:-----:--.----:------------------------------
                     Brief description of cause:
                                          Defendants violated various ri hts of Plaintiffs.
 VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                            DEMAND $                                           CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                     JURY DEMAND:               ~Yes         ONo
 VIII. RELATED CASE(S)
                        (See instructions):
       IF ANY                               JUDGE                                                                                            DOCKET NUMBER
 DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
 1011712017                                                          /s/ Martin J. Cirkiel
 FOR OFFICE USE ONLY

    RECEIPT#                    AMOUNT                                    APPLYING IFP                                   JUDGE                                  MAG. JUDGE
